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8                           UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                                CASE NO. CR. 96-350 WBS
12                Plaintiff,
13        v.                                    ORDER
14   MADY CHAN, et al.,
15                Defendants.
16                                  ----oo0oo----
17                Defendant Mady Chan suggests that the court’s order of
18   February 2, 2006 denying defendants Paul Chan,1 Mady Chan, Linda
19   Chan, and Huy Chi Luong’s2 motions to suppress wiretap evidence
20   failed to consider the arguments raised by defendant Mady Chan in
21   his Supplemental Points and Authorities in Support of Motion for
22   Suppression of Wiretap Evidence, filed August 1, 2003.             Defendant
23   Mady Chan raised two arguments therein: (1) that the wiretap
24   evidence obtained after the wiretap’s objective was met must be
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               Defendants Bao Qin Chen, John That Luong, Danny Hung
26   Luong, Linda Chan, Jeanette Hong, Mady Chan, and Huy Chi Luong
     joined in Paul Chan’s motion.
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               Defendants John That Luong, Paul Chan, and Jeanette
28   Hong joined in this motion.

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1    suppressed, and (2) that the interception of Linda Chan’s
2    conversations was illegal because she was not a named co-
3    conspirator.
4              The court did consider, but rejected, those arguments
5    for the following reasons.    First, the objective authorized by
6    the February 21, 1996 wiretap order was for the government to
7    obtain evidence needed to prosecute Mady Chan.        Contrary to Mady
8    Chan’s arguments, in a large scale conspiracy such as this one,
9    it is far from clear that evidence to support his prosecution
10   could not be obtained after his arrest.
11             Second, the government’s continued recording of
12   conversations on phone line (916)685-4360 after Mady Chan’s
13   arrest and wiretapping of Linda Chan’s conversations on this line
14   were not clearly erroneous because the court’s orders authorizing
15   wiretapping on that phone line were not limited to the
16   interception of conversations among the co-conspirators, but
17   instead authorized the interception of conversations on that
18   particular phone line.    Title III of the Omnibus Crime Control
19   and Safe Streets Act of 1968 contemplates that communications not
20   explicitly authorized may be intercepted during a wiretapping
21   investigation.   Title III merely requires that wiretapping “be
22   conducted in such a way as to minimize the interception of
23   communications not otherwise subject to interception.”         18 U.S.C.
24   § 2518(5).   As previously discussed in this court’s order, the
25   Supreme Court has held that minimization of intrusion by wiretap
26   under § 2518(5) may be more difficult, and more extensive
27   surveillance may therefore be authorized, when a wiretap is
28   directed at what may be a large scale conspiracy, as is the case

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1    here.     (Feb. 3, 2006 Order 7 (citing Scott v. United States, 436
2    U.S. 128, 140-41 (1978)).)3        Therefore, the fact that Linda
3    Chan’s conversations on this phone line were intercepted, even
4    though she was not a named interceptee of the wiretap affadavit,
5    is insufficient to establish that the wiretapping evidence should
6    be suppressed.
7                 It was not necessary for the court’s order to expressly
8    mention each argument, and each nuance of every argument, raised
9    in support of the motion.        Simply because the court did not
10   expressly mention these arguments in its order of February 2,
11   2006, does not mean that the court did not consider them.
12   Because the court previously rejected these arguments, and
13   because the court’s previous court orders authorizing wiretaps
14   were not clearly erroneous, defendant Mady Chan’s motion for
15   reconsideration is DENIED.
16   DATED: March 14, 2006
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               Cf. United States v. Edwards, 303 F.3d 606, 621 (5th
26   Cir. 2002) (concluding that only named interceptees or co-
     conspirators’ conversations could be intercepted by a wiretap
27   when the authorization specifically restricted interception to
     named interceptees or co-conspirators).
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